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    15     League, NFL Enterprises LLC, and the
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    17                                UNITED STATES DISTRICT COURT
    18                             CENTRAL DISTRICT OF CALIFORNIA
    19
           IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668−PSG (SKx)
    20     LEAGUE’S “SUNDAY TICKET”
           ANTITRUST LITIGATION                        JOINT STIPULATION TO USE
    21     ______________________________              ELECTRONIC EQUIPMENT
    22
           THIS DOCUMENT RELATES TO:                   Judge: Hon. Philip S. Gutierrez
    23     ALL ACTIONS                                 Final Pretrial Conference: 6/4/24 at
    24                                                                             1:30 p.m.
                                                       Trial: 6/5/24 at 9:00 a.m.
    25                                                 Courtroom: First Street Courthouse
    26                                                              350 West 1st Street
                                                                    Courtroom 6A
    27                                                              Los Angeles, CA 90012
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          Case No. 2:15-ml-02668-PSG (SKx)             Joint Stipulation to Use Electronic Equipment
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     1           Pursuant to the Court’s Procedures, “[e]lectronic equipment is not allowed
     2   into the courtroom, without first obtaining the Court’s approval by stipulation and
     3   proposed order.” Plaintiffs and the NFL Defendants, by and through their respective
     4   counsel, hereby stipulate, subject to the Court’s approval, to the use of electronic
     5   equipment in the courtroom at (1) the June 4, 2024 Final Pretrial Conference, as well
     6   as (2) trial commencing on June 5, 2024. The electronic equipment to be used at
     7   these proceedings may include, but is not limited to, cell phones, tablets, laptop
     8   computers, laptop chargers, keyboards, mice, monitors, external hard drives, flash
     9   drives, presentation remotes and/or clickers with laser pointing devices, personal
    10   printers, and associated cables, power strips, extension cords, and adaptors. It is
    11   further stipulated that the parties may also make use of and connect their respective
    12   electronic equipment to the Court’s projectors, monitors, and other existing
    13   courtroom equipment to save time when presenting.
    14

    15   IT IS SO STIPULATED.
    16   Dated: May 23, 2024                    Respectfully submitted.
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     7
         All signatories listed, and on whose behalf the filing is submitted, concur in the
     8   filing’s content and have authorized the filing.
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